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                                 EXHIBIT Z




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                                                            Chicago Tribune (Chicago, Illinois)   · Sun, May 10, 1987 · Page 296

https://www.newspapers.com/image/388896076                                                                Printed on Jan 31, 2019




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                                                            Chicago Tribune (Chicago, Illinois)   · Sun, May 10, 1987 · Page 297

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                               EXHIBIT AA




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Parks & Facilities

Humboldt (Alexander Von) Park




    The beautiful lagoon by the boat house                                   Natural areas for lo



     Location:
     1440 N. Humboldt Boulevard
     Chicago, IL 60622

     Supervisor: Jesus Perez

     Phone Numbers:
     Main (312) 742-7549

     Features: Parks




 
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Hours
Park Hours

Sunday:                               6:00 am-11:00 pm

Monday:                               6:00 am-11:00 pm

Tuesday:                              6:00 am-11:00 pm

Wednesday:                            6:00 am-11:00 pm

Thursday:                             6:00 am-11:00 pm

Friday:                               6:00 am-11:00 pm

Saturday:                             6:00 am-11:00 pm

Fieldhouse Hours

Sunday                                Closed

Monday                                9:00 am-8:00 pm

Tuesday                               9:00 am-8:00 pm

Wednesday                             9:00 am-8:00 pm

Thursday                              9:00 am-8:00 pm

Friday                                9:00 am-8:00 pm

Saturday                              11:00 am-6:00 pm




Description
Located in the heart of the Humboldt Park Community, Humboldt Park totals 197.26
acres and is home to a large, historic eldhouse with a tness center, two gymnasiums
and meeting rooms, as well as an inland beach and the historic lagoons and boat house. 
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Recreational facilities at the park include an arti cial turf soccer eld, a junior soccer
  eld, baseball elds, tennis courts and a replica of the Chicago Cubs stadium known as
“Little Cubs Field." The park is home to several playgrounds that were recently
renovated as part of Mayor Emanuel’s Chicago Plays! Program.

With the support of the community, Puerto Rican leaders in Chicago began leasing the
historic Humboldt Park stables near Paseo Boricua. This landmark location now
houses The National Museum of Puerto Rican Arts and Culture. It is the only museum in
the nation that is completely dedicated to the history of Puerto Rican arts and culture.

Take the Humboldt Park Audio Tour

Many of these spaces are available for rental. The grand ballroom in the eld house is a
popular location for wedding receptions and graduation parties. The outdoor soccer
 elds and Little Cubs Field frequently host competitive sports tournaments.  

Park-goers come to Humboldt to enjoy baseball, soccer and tennis, as well as shing by
the lagoon. On the cultural side, Humboldt Park is host to the Latin Jazz Festival and the
Puerto Rican Festival. The park is also the site of a wind turbine ltration system for the
lagoons.

After school programs are offered throughout the school year, and in the summer, youth
attend the Park District’s popular six-week day camp. Specialty camps are offered in the
summer as well, including baseball camp.

In addition to programs, Humboldt Park hosts fun special events throughout the year for
the whole family, including Shakespeare in the Park, Movies in the Park and other Night
Out in the Parks special events.

The park was named for Alexander Von Humboldt, a German naturalist and geographer
famed for his ve-volume work Cosmos: Draft of a Physical Description of the World,
though his single visit to the United States did not include Chicago. The creation of
Humboldt and several other Westside parks is a key part of Chicago's history that
provided beautiful green space and linked together the city's historic boulevard system.




History
In 1869, shortly after the creation of the West Park System, neighborhood residents
requested that the northernmost park be named in honor of Baron Freidrich Heinrich
Alexander Von Humboldt (1759-1859), the famous German scientist and explorer. Two
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years later, completed plans for the entire ensemble of Humboldt, Gar eld, and Douglas
parks and connecting boulevards were completed by William Le Baron Jenney, who is
best known today as the father of the skyscraper.

Having studied engineering in Paris during the construction of that city's grand park and
boulevard system in the 1850s, Jenney was in uenced by French design. The
construction of Humboldt Park was slow, however, and the original plan was followed
only for the park's northeastern section.

Jens Jensen, a Danish immigrant who had begun as a laborer, worked his way up to
Superintendent of Humboldt Park in the mid-1890s. Unfortunately, the West Park
System was entrenched in political graft at the time. The commissioners red Jensen in
1900 because of his efforts to ght the corruption.

Five years later, during major political reforms, new commissioners appointed him
General Superintendent and Chief Landscape Architect. Deteriorating and un nished
areas of Humboldt Park allowed Jensen to experiment with his evolving Prairie style. For
instance, Jensen extended the park's existing lagoon into a long meandering "prairie
river." Inspired by the natural rivers he saw on trips to the countryside, Jensen designed
hidden water sources that supplied two rocky brooks that fed the waterway. Nearby he
created a circular rose garden and an adjacent naturalistic perennial garden.

Jensen designated an area diagonally across from the rose garden as a a music court for
dances, concerts and other special events. He commissioned Prairie School architects
Schmidt, Garden, and Martin to design an impressive boat house and refectory building
which still stands at one end of the historic music court.

In 1928, the West Park Commission contructed a eldhouse in Humboldt Park. The
structure was designed by architects Michaelsen and Rognstad, who were also
responsible for other notable buildings including the Gar eld Park Gold Dome Building,
the Douglas and LaFolette Park Fieldhouses, and the On Leong Chinese Merchant's
Association Building in Chinatown.

In 1934, Humboldt Park became part of the Chicago Park District, when the city's 22
independent park commissions merged into a single citywide agency.




Parking Directions
For directions using public transportation visit www.transitchicago.com .
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         About The National Museum of Puerto Rican
                      Arts and Culture


   National Museum of Puerto Rican Arts & Culture > About The National Museum of Puerto Rican Arts and Culture




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   Located in Humboldt Park, in the heart of Chicago’s Puerto Rican community, the National Museum of Puerto
   Rican Arts & Culture (NMPRAC) is the only self-standing museum in the nation devoted to showcasing Puerto
   Rican arts and cultural exhibitions year-round.

   Founded in 2000 by members of Chicago’s Puerto Rican community and local supporters of arts and culture,
   NMPRAC serves as a one-of-a-kind institution that celebrates the best of Puerto Rico’s identity and heritage. The
   early years of the museum centered on renovating the historic Humboldt Park Stables and Receptory, an iconic
   building that has been culturally and historically signi cant to Chicago since the late 1800s. After more than 20
   years of not inducting any new museums in the park, NMPRAC made recent history and was named the latest City
   of Chicago’s Museums in the Park in February 2012.

   In 2014, the name of the museum was changed to re ect our status as the only museum in the country dedicated
   exclusively to Puerto Rican arts and culture. The national recognition is paving the way for national accreditation
   through the American Alliance of Museums. Since its inception, NMPRAC has offered a variety of quality
   community arts and cultural programming, including visual art exhibitions, hands-on community arts workshops,
     lms in the park and an annual outdoor ne arts and crafts festival.

   Visitors to the museum will enter through the dramatic brick archway of the original carriage receptory into a
   magni cent brick courtyard adorned with mosaic artwork depicting the island of Puerto Rico and many of its
   cultural elements. The courtyard is surrounded on all sides by the unique Queen Anne architectural features of the
   former stables. Each room in the stables has been transformed into part of a fully functional museum.

   NMPRAC currently houses three galleries, performance spaces, arts classrooms and curatorial and administrative
   o ces. The museum also features a gift shop and a catering area. The courtyard serves as the ideal space for art
   festivals, outdoor performances, weddings, and other private rentals.

   NMPRAC gives people from all walks of life an opportunity to be inspired by the power of artistic tradition, allowing
   guests to explore and appreciate the incredible beauty, intensity and tradition of Puerto Rican art and culture.

   The National Museum of Puerto Rican Arts and Culture is a member of:




   PROGRAM PARTNERS

   Our programs are made possible by our valued partners.




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   OUR MISSION

   The National Museum of Puerto Rican Arts and Culture (NMPRAC) is devoted to the promotion, integration and
   advancement of Puerto Rican arts and culture, presenting exhibitions and programming created to enhance the
   visibility and importance of the rich Puerto Rican arts tradition.    




   OUR VISION

   NMPRAC is the premiere organization that both in uences and connects diasporic arts, culture, and history to
   evolving generations.




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                                                cer National Museum of Puerto Rican Arts & Culture
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   Our Location
   The Humboldt Park Stables,
   home to the National
   Museum of Puerto Rican Arts
   & Culture, is truly a historic and
   architectural treasure.
   Designed by architects
   Fromman & Jebsen and
   constructed in 1895–1896, the
   Humboldt Park Stables feature
   handiwork and materials rarely
   seen today: red pressed brick,
   timber cornices and gables, glazed corner tiles, dramatic turrets and archways, and a long sloping red tile roof. In
   December of 1895, Danish immigrant and master landscape architect Jens Jensen was named Superintendent of
   Humboldt Park and, later, of Chicago’s West Park System. Jensen’s o ce was located on the rst- oor turret
   overlooking the park.

   The stable building was listed on the National Register of Historic Places in 1991. At that time, the Chicago Park
   District began efforts to restore the building. Unfortunately, re destroyed more that 40 percent of the roof and the
   second oor in 1992. Undeterred, the Park District and community leaders worked tirelessly to renovate the
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   building and transform it into the Institute of Puerto Rican Arts & Culture, which two years ago, became
   transformed into the National Museum of Puerto Rican Arts and Culture.

   Renovations of the exterior of the building were completed in 1998. The interior has undergone signi cant renewal
   with the building of several galleries and classrooms in 2010. In 2014, the second oor was fully renovated, adding
   another gallery space and administrative o ces. 

   The Humboldt Park Stables are truly an aesthetic masterpiece, providing a beautiful and stimulating setting for
   NMPRAC’s exhibitions, programs and cultural activities. The restoration and thoughtful reuse of this extraordinary
   space is a tremendous gift to the community and to the City of Chicago.




   ABOUT NMPRAC


   NMPRAC is the only national museum focused on Puerto Rican arts and culture. Experience a wealth of Arts —
   from exhibits to workshops — & a spirit and Culture unlike any other.

   FREE PARKING & ADMISSION


   We take pride in truly being a community museum, open to all community residents and visitors. Consistent with
   this spirit, we do not charge admission. Additionally, we offer free parking to our visitors. 3015 West Division Street
   Chicago, Illinois 60622
   NAVIGATION


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